Transaction details - PayPal                                                           https://www.paypal.com/activity/payment/3NE53711HA122313S
              Case 8:19-cv-00423-WFJ-SPF Document 46-1 Filed 05/24/19 Page 1 of 1 PageID 784


               Transaction details                               April 25, 2019 at 7:16:50 PM PDT | Transaction ID: 3NE53711HA122313S


                Payment sent to Oxebridge Quality Resources International LLC                                               Gross amount

                Payment Status: Completed                                                                             -$85.00 USD

                We have no postal address on ﬁle


                Transaction Activity                                                     Gross amount         Fee amount     Net amount

                                        Payment from Oxebridge Quality
                   Apr 25, 2019                                                             $85.00 USD        -$2.77 USD     $82.23 USD
                                        Resources International LLC
                   Apr 25, 2019         PayPal fee reversal                                  $2.47 USD          $0.00 USD     $2.47 USD


                Payment details

                Gross Amount                              -$85.00 USD
                PayPal Fee                                    -$2.47 USD
                Net Amount                                -$82.53 USD

                Contact info                               Oxebridge Quality Resources International LLC
                                                           The receiver of this payment is Veriﬁed
                                                           http://www.oxebridge.com
                                                           chris@oxebridge.com
                Payment Sent to                            Mercury@ct-yankee.com


                Note to Oxebridge Quality                  Order rejected.
                Resources International LLC


                Funding details                            Funding Type: PayPal Balance
                                                           Funding Source: -$85.00 USD - PayPal Account


                Need help?

                Go to the Resolution Center for help with this transaction, to settle a dispute or to open a claim.


                Memo                                       Order rejected.




1 of 1                                                                                                                             4/25/2019, 10:48 PM
